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                                     Waymo v. Uber
                               Case No. 3:17-cv-00939-WHA



                   TRIAL EXHIBIT 8857

Uber Objections:

             Fed. R. Evid. 802 – This document contains inadmissible hearsay; namely, out of court
              statements made by Anthony Levandowski, who participated in the Stroz diligence process in his
              individual capacity. See Br. § II.

             Fed. R. Evid. 805 – This document contains inadmissible hearsay within hearsay; namely,
              Anthony Levandowski’s recitation of out of court statements made by other declarants. See Br.
              § II.

             Fed. R. Evid. 1002 – The original document contains multiple different colors of writing. The
              different colors are attributable to different authors and/or were composed separately at different
              points in time. See Br. § II. The trial exhibit is a photocopy of the original document, which
              obscures the color differences.



      Note: This document is handwritten and is not susceptible to highlighting.
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